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In the United States Court of Federal Claims
                                           No. 11-790
                                   Filed: December 30, 2011 1
                                     TO BE PUBLISHED

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                                    *
URS FEDERAL SERVICES, INC.,         *                    Post-Award Bid Protest;
                                    *                    Competition In Contracting Act, 31 U.S.C. §
      Plaintiff,                    *                    3553;
                                    *                    Override;
v.                                  *                    48 C.F.R. § 16.603-2(a).
                                    *
UNITED STATES,                      *
                                    *
      Defendant,                    *
                                    *
and                                 *
                                    *
VSE CORPORATION, INC.,              *
                                    *
      Defendant-Intervenor.         *
                                    *
*************************************


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          On December 29, 2011, the court forwarded a sealed copy of this Memorandum
Opinion and Final Order to the parties to redact any information considered to be confidential
and/or privileged, and note any editorial errors requiring correction. The court has incorporated
the proposed redactions that the court deemed confidential or for which one of the parties
provided a sufficient basis to warrant confidential treatment. Therefore, portions of this
Memorandum Opinion and Final Order are redacted, as indicated by the notation “[redacted].”
This redacted version and a non-redacted version have been filed on this date with the Clerk of
the United States Court of Federal Claims.
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                      MEMORANDUM OPINION AND FINAL ORDER

BRADEN, Judge.

   I.        STATEMENT OF FACTS. 2

       The proposed scope of Contract No. TEOAF-12-D-001 is for “nationwide services for
the receipt, possession, custody, management, and disposition of seized, blocked, or forfeited
personal property on behalf of [the Department of Treasury’s (“Treasury”) Executive Office for
Asset Forfeiture], the agencies participating in [the Treasury Forfeiture Fund] or [Office of
Foreign Assets Control] when the seizing or blocking agency determines that Contractor services
for such property will be in the agency’s best interest.” AR 96. The contractor was to be
responsible for providing all services, materials, supplies, supervision, labor and equipment to
perform such property management and disposition functions, including:

        Pre-seizure analysis of General Property . . . .

        The receipt, custody, security, transportation, review of Appraised Value . . . , quick sale,
        storage, inventory, preservation, maintenance, repair, modification, refurbishment,
        upgrade, and final disposition . . . of all types of General Property. . . .

        Capturing, recording, reporting, and updating of all seizure data and related costs[.]

AR 96-97.

        On July 17, 2009, Treasury issued a pre-solicitation notice via Federal Business
Opportunities advising potential offerors that Treasury would be soliciting proposals for Contract
No. TEOAF-12-D-001. AR 5. On January 20, 2010, Treasury issued a Solicitation. AR 5. The
initial closing date was March 1, 2010, but Treasury subsequently issued a number of
amendments extending the final bid closing date by over a year to May 25, 2011. AR 5.

       On April 5, 2010, URS Federal Services, Inc. (“URS”) submitted a proposal. Compl. ¶
15. On January 28, 2011, Treasury made an initial competitive range determination that
included URS as a competitive bidder. Compl. ¶ 16. On March 7, 2011, following discussions
with Treasury, URS submitted a Final Proposal Revision. Compl. ¶ 16. In August 2011,
Treasury decided to re-open discussions and URS submitted responses to follow-up questions
during August 2011 - October 2011. Compl. ¶ 17.

       Sometime in September 2010, VSE Corporation, Inc. (“VSE”), the incumbent, received a
number of sole source extensions to continue performance of the existing contract TOS-11-C-
001, during the extended Solicitation period. AR 91-92. These sole-source extensions cost
Treasury $[redacted] per month or approximately $[redacted] million for the 13 month period.
AR 13, 19, 26. The most recent extension, via Modification 007, was issued on September 29,

        2
         The facts in this case were derived from the Administrative Record (AR 1-214)
submitted under seal by the Defendant (“the Government”) on December 5, 2011.
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2011 and afforded Treasury two options: one option to extend the existing contract through
October 31, 2011 and another to extend the contract through November 30, 2011. AR 92.
Treasury immediately exercised the first option, extending VSE’s performance through October
31, 2011 at a cost of $3,038,138.25. AR 92.

       On October 28, 2011, Treasury awarded VSE Contract No. TEOAF-12-D-001 (“the
Contract”). AR 5. Treasury did not opt to exercise the second option under Modification 007 to
extend the prior contract with VSE until November 30, 2011. AR 92. The cost of Contract No.
TEOAF-12-D-001 appears to be $[redacted] over a 12-month base period, i.e. $[redacted] per
month. AR 13, 183.

        On November 8, 2011, eight days after Treasury could have exercised the second option
under Modification 007, to extend VSE’s prior contract through the end of November, Treasury
conducted a debriefing session with URS. Compl. ¶ 9. On November 14, 2011, URS filed a bid
protest with GAO. AR 5. This act automatically stayed Treasury from proceeding with the
Contract “while the [GAO] protest is pending,” unless the “head of the procuring activity”
authorized an override, pursuant to 31 U.S.C. § 3553(c)-(d) (2006). 3

       On November 22, 2011, Treasury issued a four-page “Determination & Findings”
(“D&F”) to justify issuing an override of the congressionally imposed automatic stay. AR 5-8.
Treasury’s D&F concluded that the services to be performed under the Contract were “critical,”
and an override was justified, based upon three factors:

       [1.]   Seizures include, but are not limited to, perishable foods, tainted foods,
       dangerous food products, adulterated and unlicensed drugs, and unsafe consumer
       products. . . . [T]he risk of potentially contaminated goods entering the commerce
       of the United States would be significantly increased without the necessary
       contractor resources available during the seizure. . . .

       [2.] [I]tems that are seized include weapons of mass destruction (stinger
       missiles), illegal firearms, rocket fuel destined for Iran, explosives, and hazardous
       substances. The failure to properly process and handle these items is a major
       issue of public safety. The Government does not have the resources available or
       the required licenses or permits necessary to properly seize, transport, store, and
       dispose of such dangerous assets. In the event that a contractor is not available to
       provide these specialized skills, the Government would be forced to put
       Government employees as well as the general public at risk. . . .




       3
       The Competition in Contracting Act, Pub. L. No. 98-369, Div. B, Title VII (1984), as
amended, is codified, in relevant part, at 31 U.S.C. § 3553 (“CICA”).



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         [3.] [T]he contractor manages the storage for specialty assets, cars, vessels,
         aircraft and management of the Government warehouses [that house evidence in
         cases involving organized crime]. In the event that contractor resources are not
         available for the management and disposal of property stored within the
         Government warehouses, a significant and immediate backlog of property would
         be experienced, exceeding the capacity of the Government warehouse. The lack
         of adequate and secure storage of bulk evidence to maintain its integrity could
         result in mistrials and dismissals of criminal, civil and administrative law
         violations, freeing violators to commit additional crimes against the Government
         and citizens of the United States. . . . Such a failure could also expose the
         Government to significant liability under the Federal Tort Claims Act.

AR 6.

        Based on these findings, the Head of the Contracting Activity (“HCA”) determined that
“continued IDIQ contract and task order performance is in the best interest of the Government.”
AR 7. 4

   II.        Procedural History.

        On November 14, 2011, URS filed a bid protest with GAO. AR 5. On November 22,
2011, Treasury issued an override. AR 5-8. On November 23, 2011, URS filed a sealed
Complaint For Declaratory Judgment, Temporary Restraining Order, And Preliminary And
Permanent Injunctive Relief in the United States Court of Federal Claims (“Compl.”). The
Complaint requests that the court determine that Treasury’s November 22, 2011 override is
“arbitrary and capricious and without a rational basis, and contrary to applicable law.” Compl. ¶
27. On the same day, URS also filed a Motion For Temporary Restraining Order and a Motion
For Protective Order.



         4
          On November 14, 2011, a draft of the D&F was prepared by the CO discussing
Treasury’s concerns that “to continue the services [with VSE] with a . . . bridge contract would
leave the [G]overnment without services for at least [redacted] weeks while a sole source award
is being procured.” AR 20. This document was not shown to the HCA,
        On November 22, 2011, the Contracting Officer (“CO”) also apparently prepared a
second document that provided further justification for the override, entitled Determination and
Findings Supporting Documentation (“Supporting Memorandum”). AR 9-13. The Supporting
Memorandum provides a more detailed discussion of the three factors discussed in the D&F. AR
9-13. In addition, the Supporting Memorandum added a factor not discussed in the D&F, i.e.,
performance by VSE under the October 28, 2011 Contract would save Treasury over $[redacted]
million per month, instead of the price under which VSE previously was performing. AR 13.
(“[A]ny continuation of the sole source contract . . . would amount to economic waste.”). This
document also was not shown to the HCA


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       On November 23, 2011, the court convened a telephone status conference, during which
the court denied Plaintiff’s Motion for a Temporary Restraining Order.

      On November 28, 2011, VSE filed an Unopposed Motion To Intervene that was granted
on November 29, 2011.

        On December 2, 2011, the court issued a Scheduling Order providing for expedited
briefing. The Government also filed A Motion For Protective Order And Response To
Plaintiff’s Motion For Protective Order and an Unopposed Motion To File Administrative
Record Under Seal.

        On December 5, 2011, the court granted the Government’s December 2, 2011 Motion For
Protective Order. Later that day, the Government filed the Administrative Record under seal.
The Government also filed a sealed Motion to Supplement [The] Administrative Record With
The [December 5, 2011] Declaration Of Jeffrey M. Jackson, the Contracting Officer, to explain
Treasury’s reasoning in issuing the November 22, 2011 override. 5

        On December 9, 2011, all parties filed Cross-Motions For Judgment On The
Administrative Record (“Pl. Brief,” “Gov’t Br.,” “Int. Br.”). VSE also filed a Motion To
Supplement The Administrative Record with the Declaration of Ms. Cathy S. Kilcoyne, VSE’s
Director of Contracts, to provide additional information regarding VSE’s responsibilities under
the current and former contracts. 6

      On December 16, 2011, all parties submitted Responses to the December 9, 2011 Cross-
Motions (“Pl. Resp.,” “Gov’t Resp.,” “Int. Resp.”).




       5
         The Jackson Declaration provides additional explanation why Treasury excluded certain
arguments from the final D&F that the HCA was requested to approve. In addition, the Jackson
Declaration discusses math errors made by Treasury in calculating the monthly cost of the prior
sole source contract with VSE. Since this declaration was not provided to the HCA it is not
relevant. Moreover, the Jackson Declaration is not necessary “to permit meaningful judicial
review.” Axiom Res. Mgmt. v. United States, 564 F.3d 1374, 1380 (Fed. Cir. 2009). Therefore,
the court has declined to grant the Government’s Motion To Supplement The Administrative
Record with the Jackson Declaration.
       6
        VSE’s Motion To Supplement The Administrative Record is likewise denied, because
the Kilcoyne Declaration was neither provided to Treasury nor is it necessary “to permit
meaningful judicial review.” Axiom Res. Mgmt, 564 F.3d at 1380.


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   III.    DISCUSSION.

           A. Jurisdiction.

        The United States Court of Appeals for the Federal Circuit has held that 28 U.S.C. §
1491(b) authorizes the United States Court of Federal Claims to adjudicate challenges to an
override issued pursuant to 31 U.S.C. § 3553. See RAMCOR Servs. Group v. United States, 185
F.3d 1286, 1290 (Fed. Cir. 1999) (“[T]his court determines that 28 U.S.C. § 1491(b)(1) grants
the trial court jurisdiction over an objection to a violation of 31 U.S.C. § 3553(c)(2).”). The
court’s jurisdiction also extends to override determinations “premised upon asserted ‘best
interests of the United States' as well as those based upon asserted ‘urgent and compelling
circumstances that significantly affect interests of the United States.’” Chapman Law Firm
Co. v. United States, 62 Fed. Cl. 464, 466 (2004) (quoting 31 U.S.C. § 3553(d)(3)(C)).

        Congress has emphasized that “[i]n exercising jurisdiction [to review a federal agency’s
override], the courts shall give due regard to the interests of national defense and national
security[.]” 28 U.S.C. § 1491(b)(3). Therefore, “where legitimate ‘interests of national defense
and national security’ have been asserted and established to the court's satisfaction, it is ‘not
necessary’ for the court to reach the merits of whether [the CICA] was violated.” Kropp
Holdings, Inc. v. United States, 63 Fed. Cl. 537, 549 (2005).

         In this case, only Intervenor VSE contests the court’s jurisdiction on national security
grounds, arguing that the scope of the Contract allegedly involves securing “weapons of mass
destruction (stinger missiles), illegal firearms, rocket fuel destined for Iran, explosives, and
hazardous substances.” Int. Br. at 4-8 (quoting AR 6). The D&F finding (AR6) on which VSE
bases this argument), however, is materially different from the scope of the contract described in
the Solicitation, that provides: “Out of scope property that should not be stored, and for which
the Contractor shall not provide services, under the Contract include . . . controlled substances
(i.e., drugs/narcotics, firearms, and Bureau of Alcohol, Tobacco, Firearms, and Explosives’
classified Class A and B explosives). The custody of firearms will not be transferred to the
Contractor.” AR 96. The striking difference between the scope of the Contract described in the
Solicitation and the D&F seriously undermines the basis on which Treasury issued the override.

        Although the November 22, 2011 D&F cites “financial and safety risks” (AR 7) the
November 22, 2011 D&F does not invoke “national defense and national security” as the basis
for the override. See AR 4-8. Accordingly, the court has determined that it has jurisdiction to
adjudicate URS’s challenge to Treasury’s November 22, 2011 override.




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           B. Standing

        To establish standing in a bid protest case, an aggrieved bidder must be an “interested
party.” See 28 U.S.C. § 1491(b)(1); see also American Fed'n Gov't Employees, AFL-CIO v.
United States, 258 F.3d 1294, 1302 (Fed. Cir. 2001) (“We hold that standing under [28 U.S.C.] §
1491(b)(1) is limited to actual or prospective bidders or offerors whose direct economic interest
would be affected by the award of the contract or by failure to award the contract.”). URS has
established that it is an “interested party,” because it submitted a bid for the Contract. Compl. ¶¶
15-17.

        A protestor also must show that the alleged errors in the procurement were prejudicial.
See Labatt Food Serv., Inc. v. United States, 577 F.3d 1375, 1378 (Fed. Cir. 2009) (“It is basic
that because the question of prejudice goes directly to the question of standing, the prejudice
issue must be reached before addressing the merits.” (internal quotation marks omitted)); see
also Myers, 275 F.3d at 1370 (“[P]rejudice (or injury) is a necessary element of standing.”). A
party demonstrates prejudice when “it can show that but for the error, it would have had a
substantial chance of securing the contract.” Labatt, 577 F.3d at 1378. Importantly, a proper
standing inquiry must not conflate the requirements of “direct economic interest” and prejudicial
error. Id. at 1380 (explaining that examining economic interest but excluding prejudicial error
from the standing inquiry “would create a rule that, to an unsuccessful but economically
interested offeror in a bid protest, any error is harmful”).

        The United States Court of Appeals for the Federal Circuit, however, has not specifically
addressed whether, in the context of a motion to set aside or enjoin an override of an automatic
stay, issued under 31 U.S.C. § 3553(d)(3)(C), “prejudice” must be demonstrated to establish
standing, i.e., that the protestor would have a “substantial chance” of receiving the award absent
the alleged error in the procurement process. A reasonable interpretation of 31 U.S.C. §
3553(d)(3)(C), supports the proposition that establishing prejudice in an override case should not
involve a higher standard than for the underlying bid protest. See Weeks Marine, Inc. v. United
States, 575 F.3d 1352, 1362 (Fed. Cir. 2009) (explaining that to establish standing a bidder must
demonstrate a “non-trivial competitive injury which can be addressed by judicial relief.”
(internal quotation marks omitted)).

        VSE, however, argues that URS does not have standing, because it has not shown that it
suffered any “injury-in-fact,” as required by the United States Supreme Court in Lujan v.
Defenders of Wildlife, 504 U.S. 555, 561 (1992). Int. Resp. at 2-6. URS’s only claimed injury
results from the November 22, 2011 override, i.e., a competitive disadvantage even if the GAO
were to rule in its favor, is too speculative to afford standing to challenge Treasury’s November
22, 2011 override.

       Although it is true that URS’s injury-in-fact is limited to a competitive disadvantage,
competitive injury repeatedly has been recognized as sufficient to support Article III standing.
See Association of Data Processing Serv. Orgs. v. Camp, 397 U.S. 150, 152 (1970) (holding that



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competitive injuries can establish standing under the more rigorous APA prudential standing
doctrine); see also Canadian Lumber Trade Alliance v. United States, 517 F.3d 1319, 1334 (Fed.
Cir. 2008) (observing that “in most ‘competitor standing’ cases . . . it is presumed . . . that a boon
to some market participants is a detriment to their competitors.”). Because competitive injury is
not easy to quantify, Congress decided the proper remedy was the automatic stay, which is
limited in nature. See H.R. Conf. Rep. No. 98-861 at 1435 (1984) (“[A] strong enforcement
mechanism is necessary to insure that the mandate for competition is enforced.”); 7 see also
Reilly’s Wholesale Produce v. United States, 73 Fed. Cl. 705, 717 (2006) (“Congress enacted the
automatic stay on the premise that the failure of an agency to stay performance could result in a
competitive disadvantage that might not be remedied, causing a contractor to lose an important
business opportunity.”). As the United States Supreme Court has held, “‘Congress has the power
to define injuries and articulate chains of causation that will give rise to a case or controversy
where none existed before.’” Massachusetts v. EPA, 549 U.S. 497, 516 (2007) (quoting Lujan,
504 U.S. at 580 (Kennedy, J. concurring)). If, however, the court accepted VSE’s argument, it
would mean that an unsuccessful bidder would never have standing to challenge an override,
unless it was an incumbent. This would be contrary to Congress’ decision to impose an
automatic stay as a temporary remedy, until the merits of a bid protest can be reviewed by the
GAO in the first instance. The November 23, 2011 Complaint in this case alleges a sufficient
factual basis for the court to determine whether URS had a “substantial chance” of being
awarded the Contract. In fact, URS’s bid was deemed sufficiently competitive that Treasury
decided to reopen discussions six months after URS submitted its Final Proposal Revision.
Compl. ¶¶ 16-17.

       For these reasons, the court has determined that URS has standing to challenge
Treasury’s November 22, 2011 override.

            C. Standard For Review.

        The court is required to review the substantive merits of an override decision, pursuant to
the standards set forth in the Administrative Procedures Act (“APA”), 5 U.S.C. § 706(2)(A). See
28 U.S.C. § 1491(b)(4) (“In any action under this subsection [i.e. in connection with a bid
protest], the courts shall review the agency's decision pursuant to the standards set for in section
706 of title 5.”). In Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402 (1971), the
United States Supreme Court held:

       Section 706(2)(A) requires a finding that the actual choice made was not “arbitrary,
       capricious, an abuse of discretion, or otherwise not in accordance with law.” To make

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          Another congressional report issued a year after the CICA was enacted further
explained that prior to imposing an automatic stay “[a]gencies . . . often proceeded with their
contracts, simply ignoring the protest process. As a result, vendors were confronted with a fait
accompli and often did not receive fair and equitable relief even when GAO decided in their
favor.” H.R. Rep. No. 99-138 at 5 (1985).”


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        this finding the court must consider whether the decision was based on a consideration of
        the relevant factors and whether there has been a clear error of judgment. Although this
        inquiry into the facts is to be searching and careful, the ultimate standard of review is a
        narrow one. The court is not empowered to substitute its judgment for that of the agency.

Id. at 416.

        Subsequently, the United States Supreme Court explained in Motor Vehicle Mfrs. Ass'n of
the United States v. State Farm Ins. Co., 463 U.S. 29 (1983), that “an agency rule would be
arbitrary and capricious[,] if the agency has relied on factors which Congress has not intended it
to consider, entirely failed to consider an important aspect of the problem, offered an explanation
for its decision that runs counter to the evidence before the agency, or is so implausible that it
could not be ascribed to a difference in view or the product of agency expertise.” Id. at 43. In
applying these standards to a CICA override, the United States Court of Federal Claims has
determined that an agency must address four issues:

        (i) whether significant adverse consequences will necessarily occur if the stay is not
        overridden . . .

        (ii) conversely, whether reasonable alternatives to the override exist that would
        adequately address the circumstances presented . . .

        (iii) how the potential cost of proceeding with the override, including the costs associated
        with the potential that the GAO might sustain the protest, compare to the benefits
        associated with the approach being considered for addressing the agency's needs . . .

        (iv) the impact of the override on competition and the integrity of the procurement
        system, as reflected in the Competition in Contracting Act[.]

Reilly’s Wholesale, 73 Fed. Cl. at 711 (internal citations omitted).

       The Government argues that the court should ignore Reilly, because “[t]his Court is not
empowered to identify factors that a Federal agency must consider in making an override
decision based upon the best interests of the United States.” Gov’t Br. at 24. The Reilly factors,
however, simply represent a distillation of factors that the court would expect the federal agency
decision-maker to consider before determining that an override either is “in the best interests of
the United States” or “urgent and compelling.” 31 U.S.C. § 3553(d)(3)(C)(i).




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           D. Whether The November 22, 2011 Override Was Arbitrary, Capricious, An
              Abuse Of Discretion, Or Otherwise Not In Accordance With Law.

               1. Plaintiff’s Argument.

        URS argues that Treasury’s November 22, 2011 override was motivated not by the “best
interests of the government,” but to save money, by having VSE perform under the October 28,
2011 Contract price, instead of the higher bridge contract price. Pl. Br. at 2, 19, 37. Treasury,
however, didn’t mention this fact in the D&F. Id. at 19-20. An interest in saving money,
however, is not sufficient grounds to justify an override. Id. at 37 (citing Reilly’s Wholesale, 73
Fed. Cl. at 727). Moreover, the Government’s savings argument is inconsistent with the fact that
Treasury took 22-months before it finally issued the Contract to the incumbent. Id. at 5, 7-9.

        In addition, the D&F is arbitrary and capricious, because it fails adequately to address the
Reilly factors. Pl. Br. at 20-25. First, Treasury failed to show any adverse consequences of
allowing the automatic stay to take effect. Neither did the D&F address how a stay of the
Contract for “management” of seized property would lead to fewer seizures or harm to the
public. Id. at 21. In addition, Treasury failed to consider any reasonable alternatives to the
override, such as exercising the second option under Modification 007, requiring VSE to perform
under the existing sole-source contract until November 31, 2011. Id. at 22. This would have
allowed further time to negotiate a bridge contract. Id. If VSE had been unwilling to negotiate,
Treasury could have imposed a letter contract under FAR 16.603-2(a). 8 Pl. Resp. at 6 n.7. In
addition, although the D&F stated that it considered the “cost associated with GAO sustaining
the protest” it never discussed what the specific costs were or how they compared to the costs of
the override. Pl. Br. at 23-24 (citing AR at 8). Finally, the D&F never discusses the fourth
Reilly factor, i.e., “impact of the override on competition and the integrity of the procurement
system.” Reilly’s Wholesale, 73 Fed. Cl. at 711.




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        A letter contract allows the Government to “authorize[] [a] contractor to begin
immediately . . . performing services.” 48 C.F.R. § 16.603-1. FAR 16.603-2(a) states that:

       (a) A letter contract may be used when (1) the Government's interests demand that
       the contractor be given a binding commitment so that work can start immediately
       and (2) negotiating a definitive contract is not possible in sufficient time to meet
       the requirement. However, a letter contract should be as complete and definite as
       feasible under the circumstances.

48 C.F.R. § 16.603-2(a).



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               2. The Government’s Argument.

        The Government argues that the court should consider cost as a reason to justify the
override, even though cost was not discussed in the D&F that was submitted to the HCA for
approval. Gov’t Br. at 29-31. The Government explains this oversight by the CO as
“assum[ing] a certain level of familiarity in its readers with the background events surrounding
the procurement at issue” and “[f]or ease of presentation to high-level decisionmakers.” Gov’t
Br. at 15. In fact, Treasury calculated that it would save $[redacted] million per month by having
VSE perform under the Contract, rather than under a bridge contract. AR 13, 20. Consideration
of this factor by the CO, as reflected in the November 14, 2011 Draft D&F and November 22,
2011 Supporting Memorandum, is relevant for the court to consider, because “the question of the
rationality of an agency’s decision must be evaluated in light of the record as a whole.” Gov’t
Br. at 30. Furthermore, it is appropriate for Treasury to consider the possibility of “economic
waste” in authorizing the override, because an agency is supposed to consider the “potential
costs to the [G]overnment from carrying out relief measures as may be recommended by the
Comptroller General if the protest is subsequently sustained.” PMTech, Inc. v. United States, 95
Fed. Cl. 330, 346 (2010).

        Nevertheless, Treasury’s decision-making was well-reasoned. Gov’t Br. at 32-36. The
agency concluded that without an override, it would be without storage services for at least
[redacted] weeks, based on its experience with negotiating bridge contracts. Gov’t Br. at 35
(citing AR 20, 26). Moreover, VSE might have been unwilling to enter into a bridge contract.
Id. If not, [redacted] week gap in services would result in risks to the public from inadequate
storage of items such as fighter jets (AR 203-204), lethal explosives (AR 10, 18, 24), cocaine
(AR 9-10, 17, 23-24, 187, 207-08), and contaminated foods, including 28,522 contaminated
lobsters (AR 9, 17, 23). Therefore, Treasury reasonably determined that it could not adequately
protect these items for [redacted] weeks without outside assistance. AR 6. Finally, Treasury
considered the long-term risk to the criminal justice system of diverting resources from law
enforcement to guard the seized property. AR 12, 19, 25. In addition, other problems might
arise such as lost evidence, failed prosecutions, and potentially substantial government liability
under the Federal Torts Claims Act. AR 12, 19, 26.

               3. Intervenor’s Argument.

        VSE also argues that the existing bridge contract expired and it would take [redacted]
weeks to finalize another contract. Int. Br. at 11-12. Therefore, Treasury reasonably concluded
that the risks from a [redacted]-week gap in service, as well as the financial costs of securing
performance under a bridge contract, justified an override as being in the “best interests of the
Government. Int. Br. at 12 (quoting AR 13). If the court invalidates the override, Treasury will
be confronted with termination costs under the October 28, 2011 Contract with VSE. Int. Br. at
13.




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        VSE also contends that Treasury did consider the fourth Reilly factor, i.e., the cost to the
integrity of the procurement system of an override. Int. Br. at 14-18. In the November 22, 2011
Supporting Memorandum, the CO stated that “[t]he override creates no impact on competition
[or] the integrity of the procurement system[.]” AR 13. Plaintiff’s argument that allowing VSE
to perform under the October 28, 2011 Contract improves VSE’s competitive position entails
“too many contingencies,” because it assumes that: (1) the GAO protest will be sustained; (2)
GAO will recommend re-competing the Contract; (3) Treasury will not recomplete the Contract,
because of concerns about termination costs; and (4) another competition ultimately would lead
to URS being awarded the Contract. Int. Br. at 16.

               4. The Court’s Resolution.

        Congress requires that, before an override of the automatic stay is authorized, the “head
of the procuring activity” must find, in writing, that an override is “in the best interests of the
United States” or otherwise justified by “urgent and compelling circumstances that significantly
affect interests of the United States.” 31 U.S.C. § 3553(d)(3)(C). As previously discussed, the
automatic stay was intended to be “a strong enforcement mechanism” to protect the integrity of
the procurement process, that previously was threatened by a widespread agency disregard of
GAO recommendations and an unwillingness to revisit contracts already awarded. See H.R.
Cong. Rep. No. 98-861 at 1435 (1984). To emphasize the importance of an override, Congress
prohibited designated agency officials from delegating that decision. See 31 U.S.C. § 3553(e).
In addition, even if that official determines that an override is in the “best interests of the United
States” an analysis of the alternatives to the override and costs to the integrity of the procurement
system must be conducted. See Reilly’s Wholesale, 73 Fed. Cl. at 711. As one commentator has
observed:

       [T]he “urgent and compelling interests” exception should be used in preference to the
       “best interests” rationale. Although at first glance the “best interests” justification would
       seem preferable[,] because it is easier to satisfy[:] this simplicity is illusory. The brevity
       of the “best interests” exception can lead a contracting activity into a false sense of
       security, causing them to draft an oversimplified determination that does not adequately
       explain the “best interests” that are to be served by the override. Such an inadequate
       explanation of best interests would not withstand judicial scrutiny in the event a protester
       sought an injunction. Furthermore, when an agency uses the “best interests” exception,
       CICA directs the GAO in fashioning a remedy to disregard “cost or disruption from
       terminating, recompeting, or reawarding the contract.”

Judith A. Sukol, The Competition In Contracting Act’s Automatic Stay Provision and Judicial
Review: A Trap for the Unwary, 43 Admin. L. Rev. 439, 453 (1991).

       In this case, the Administrative Record shows that Treasury gave no serious
consideration to two of the Reilly factors.




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        First, the Administrative Record evidences that Treasury did not consider any alternatives
to an override. Inexplicably, no attempt was made to exercise the option under Modification 007
to continue VSE’s performance through November 31, 2011. In fact, the Government’s brief
studiously ignores this possibility, presumably because the agency’s failure to consider it was
indefensible. The Administrative Record also does not evidence any effort even to discuss the
possibility of a new bridge contract with VSE, prior to issuing the override. In light of the fact
that VSE had been operating under a sole source contract for over a year, it is difficult to believe
that a temporary extension thereof could not have been effected without much effort. Therefore,
Treasury’s unsupported conclusion in the November 14 draft D&F that “a bridge contract would
leave the government without services for at least [redacted] weeks while a sole source award is
being procured” (AR 20) is arbitrary and capricious, because it “entirely fail[s] to consider an
important aspect of the problem, offer[s] an explanation for its decision that runs counter to the
evidence before the agency, [and] is so implausible that it [can] not be ascribed to . . . the product
of agency expertise.” State Farm, 463 U.S. at 43. For the court to sanction such “reasoning”
would undermine the “strong enforcement mechanism” of the automatic stay.

        Second, Treasury made no serious attempt to analyze the effect of the override on the
integrity of the procurement system. Instead, the Supporting Memorandum (which the HCA
never even saw) simply asserts, with no support, that no such harm will occur. AR 13.
Moreover, this ipse dixit, is belied by the parties’ behavior. VSE forcefully has argued that
Treasury’s override should be upheld. See generally Int. Br.; Int. Resp. But even the
Government concedes that VSE stood to gain financially from a bridge contract, that would
entail a much higher price than the Contract. Gov’t Resp. at 7 (“VSE is the incumbent and
would be performing any bridge contract, only at greater remuneration. . . . URS is advocating in
favor of an arrangement that would enrich its competitor.”). Obviously, VSE had something
more valuable to gain from the override. Therefore, Treasury’s cursory conclusion that VSE
would not achieve a significant competitive advantage is not supported by the Administrative
Record and must be considered a failure to “consider an important aspect of the problem.” State
Farm, 463 U.S. at 43.

        Finally, the court is troubled by the cavalier assertion that the CO’s decision to exclude
any mention of cost in a decision-making document presented to the HCA for approval was
appropriate for “ease of presentation.” Gov’t Br. at 15. If cost was deemed so unimportant that
it need not be raised with the ultimate decision-maker, the court should not be expected to rely
on this factor as the reason to support the agency’s override.




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   IV.     CONCLUSION.

        For these reasons, the court has determined that Treasury’s November 22, 2011 override
of the automatic stay, authorized by 31 U.S.C. § 3553, was arbitrary, capricious, and an abuse of
agency discretion. Accordingly, the court will enter judgment for plaintiff declaring that the
November 22, 2011 override is set aside, void, and without effect. By operation of law, the
automatic stay in bid protests numbers B-406140.1 and B-406140.2 are reinstated.

         IT IS SO ORDERED.

                                                           s/Susan G. Braden
                                                           SUSAN G. BRADEN
                                                           Judge




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